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November 1, 2020
BY ECF APPLICATION GRANTED

Honorable John G. Koeltl a SO ORDERED
United States District Court we

Southern District of New York
500 Pear! Street ih
New York, New York 10007 HI O John G. ‘Koalll, U.S.DJ,

Re: Bishme Ayers v. City of New York, etal, 14 CV 8979 (JGK)

    

 

Your Honor:

Iam a Senior Counsel in the office of James E. Johnson, Corporation Counsel of the City
of New York, assigned to the defense of the above-referenced matter. I write to respectfully
request a one-week extension of time for the parties to file their pretrial submissions, including
the joint pre-trial order, motions in limine and requests to charge from November 5, 2020 to
November 12, 2020. Plaintiff’s counsel, Caitlin Robin, Esq., consents to this request. This is
defendants’ second request for an extension of time to file pre-trial submissions.

Defendants are requesting a one-week extension of time due to the ongoing limitations
and impairments caused by the Covid-19 pandemic and the New York City Law Department’s
continued requirement that the vast majority of its employees work from home,

Accordingly, defendants respectfully request a one-week extension of time for the parties
to file their pretrial submissions from November 5, 2020 to November 12, 2020, and a
corresponding extension of time for the parties to file responses and objections from November
12, 2020 to November 19, 2020.

Thank you for your consideration herein.

Respectfully submitted,

/s/

 

 

Joseph Zangrilli

 

Senior Counsel

 

USDS SDNY
Cc: Caitlin Robin, Esq. (Via ECF)

 

  

 

 

 

 

 
